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UNITED STATES BANKRUPTCY COURT
DISTRICT OF I)ELAWARE

 

In re Chapter 11

oPEN ROAD FtLi\/ts, LLC, a Deiaware ease NO.: is-12012 (Lss)
limited iiabiiiiy company er atf
(}ointiy Administered)
chtors, ,-. w
Ref. pocket No. 05 §§

 

 

ORDER SHORTENING 'I`HE 'I`IME FOR NOTICE OF DEBTORS’ MOTION
FOR ENTRY OF AN OR])ER AUTHORIZING AND APPROVING
7 CERTAIN BIDDING PROTECTIONS AND AMENDMENTS TO
BII) PROCEDURE__S OR])ER, AN]) GRANTING RELA’I`ED RELIEF
Upon consideration of` the motion (the “Motion to S!mrten”)2 of the above-
captioned debtors and debtors in possession (coliectively, the “Debtors”) for entry of an order,
(a) shortening the time required for notice of` the hearing to consider approval of the Bid
Protections Motion so that it may be heard on October 25, 2018, or as soon thereafter as the
Debtors may be heard, but in any event no later than five (5) business days after the filing of` the
Motion to Shorten, and (b) providing that any objections to the Bid Protections Motion are due at
the commencement of the hearing thereon; and the Court having determined that, under the facts
and circumstances of these Cases, granting the relief requested in the Motion to Shorten is
appropriate; and it appearing that due and adequate notice of the Motion to Shorten has been
given, and that no other or further notice need be given; and after due deliberation and sufficient

cause appearing therefor, I'I` IS HEREBY OR])ERED THAT:

t. The Motion to Shorten is granted as set forth herein.

 

1 Tiie Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
Operi Road Filins, LLC (4435-Dei.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC (5873-Del.);
Briarcliff` LLC (7304-De1.); O;)en Road Intemational LLC (4109-Dei.); and Empire Producticns LLC (9375-Del.).
The Debtors’ address is 2049 Century Park East, 4th Fioor, Los Angeies, CA 90067.

2 All teirns not otherwise defined herein shali be given the meanings ascribed to them in the Motion to Shorten.

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2. The Bid Protections Motion shall be heard (the “HL_ring”) on October
B, 2018 aimi,;“:él j;.m. (Er).

3. Any objections to the relief requested in the Bid Protections Motion shall
be due at the commencement of the Hearing.

4. This Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of this n

   

Dated: October 223 , 2018 . _. .
Wilmington, Delaware Laui'ie Selber Silverstein
United States Bankruptcy Judge

 

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